        Case 1:25-cv-00333-ALC          Document 17         Filed 01/31/25     Page 1 of 4

               SHARMALAW
               LAW OFFICES OF RAVI IVAN SHARMA , P.C.
               26 B ROADWAY , S UITE 1108, N EW Y ORK , N EW Y ORK 10004
212 537 5957
Facsimile 212 537 5956
Voice Mail 213 537 5953
RAVI@SHARMALAW.COM
                                         January 31, 2025

VIA ECF and EMAIL: ALCarterNYSDChambers@nysd.uscourts.gov

The Honorable Andrew L. Carter
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

      RE: Svothi Inc. v. Dark Alley Media, 25 CV 0333 – Defendants’ Request For a Pre-
Motion Conference.

Dear Judge Carter:

      This office represents Defendants, Dark Alley Media, LLC (“DAM”) and its LLC Manager

and founder, Robert Felt. Under Your Honor's Individual Practices, we respectfully request a

Pre-Motion Conference to discuss Defendants’ anticipated motion seeking to (i) stay this matter

pending arbitration, and (ii) to implead and join third parties, VideoApp, Inc. (“VA”), a company

owned and/or operated closely with Plaintiff by Plaintiff’s principal, Damian Todaro, and Mr.

Todaro.

      The Federal Action. Plaintiff asserts Lanham Act claims against Defendants over certain

common-law trademarks (the “RFC Marks”) it alleges it owns based on its claim that it has

operated adult websites under such marks since 2010. Defendants’ motion seeks to stay this

action pending the outcome of arbitration between DAM and VideoApp, Inc. (“VA”).1 For the

reasons described below, Plaintiff, VA, and Todaro are each other’s alter ego such that the



1
 JAMS Demand for Arbitration, Dark Alley Media, LLC vs. VideoApp Inc. #5425003243, submitted
1/16/2025, demands payment of at least $147,000 withheld by VideoApp since at least August 2024 and
determination that the Marks and other assets are to be transferred to DAM on account of VideoApp’s
uncured breach of the Joint Venture.
        Case 1:25-cv-00333-ALC          Document 17        Filed 01/31/25      Page 2 of 4



arbitration determining the ownership of the Marks as between DAM and VA will be dispositive

of the core of this action.

    Alter Ego Theory. Plaintiff’s and VA’s close interrelationship is illustrated by the fact that

they share the same business address, both use the name and dba “PPVNetworks”, both have

near-identical websites declaring themselves behind-the-scene operators of various streaming

websites, both have the same CEO and/or owner, both have the same attorney who asserts the

same rights for both, both claim to operate and/or administer the websites described in the JVA

and the Complaint, and during the period alleged in the complaint Plaintiff was the payor on

checks issued to DAM for DAM’s share of the proceeds of a joint venture between DAM and

VA.

      The Joint Venture Agreement. DAM entered into a joint venture agreement (the “JVA”)

with VA (defined as PPVNetworks therein), executed as of January 1, 2019, by Mr. Todaro and

Mr. Felt. According to its terms, the JVA memorialized the joint venture established by Messrs.

(the “JV”) under which they operated a website bearing the RFC Marks (which DAM established

prior thereto) for the purpose of streaming “pay-per-view” videos produced by DAM which VA

would operate and administer for the profit of the JV. The JVA requires arbitration in the case of

any disputes.

      The JVA explicitly declares the RFC Marks “are owned by the JV” and sets forth the

disposition of the rights to the Marks upon termination under various scenarios. For example, if

the JV was terminated due to the breach of VA, “DAM gains all rights to RFC Brands, Content

and Domain Names…”. Alternatively, if the JV was terminated due to the breach of DAM,

“PPVNetworks may continue to use the RFC Brands, Content and Domains.” In addition, the

parties so recognized the critical need to protect the Marks that among other things the JVA

obligated VA/PPVNetworks to “immediately notify DAM” if it perceived


                                                 2
        Case 1:25-cv-00333-ALC          Document 17       Filed 01/31/25      Page 3 of 4



     “any actual, suspected or threatened claim that use of the Domains and Brands
     infringes the rights of any third party … or … any other actual, suspected or
     threatened claim to which the Domains and Brands may be subject.”

     The Dispute. Plaintiff initiated this action and DAM initiated the JAMS arbitration after

over five months of acrimony ending in December 2024 between Mr. Todaro and Mr. Felt on

behalf of VA and DAM, respectively, over non-payment of DAM by VA (and Plaintiff), and at

least four letters between Plaintiff’s counsel, Mr. Mullen, and the undersigned consisting of

competing notifications, demands, and declarations of termination of the JV under the terms of

the JVA.

     The Fraud. Now, with no reference to the JVA, Plaintiff’s has brazenly filed the present

action claiming Plaintiff alone owns the RFC Marks due to its own efforts as though the terms of

the JVA never existed or matter. Contrary to the terms of the JVA that the JV owns the RFC

Marks, the Complaint alleges that Plaintiff has used and established common-law trademark to

the RFC Marks since 2010. If the Complaint is true, then together with the JVA, they describe

nothing less than a coordinated decade-or-more deception and misappropriation of the JV’s—

and therefore DAM’s—rights to the RFC Marks via the concerted deceptive actions of VA and

Plaintiff, with Todaro at their helm.

   If the Complaint is true, then given the now nearly 16-year-relationship the JVA established

between DAM and VA (who Mr. Mullen championed as late as November 2024), Plaintiff and

Todaro exercised such complete domination over VA in respect to the JV that Plaintiff purports

to this Court it owns the RFC Marks. All the while VA and Plaintiff, contrary to the terms of the

JVA, purposefully concealed their true intentions and actions to DAM who relied to its detriment

on VA’s untrue promises to disclose any claims or threats to the Marks during the life of the JV.

All such facts constitute fraud and support piercing the corporate veils of Plaintiff and VA since

they are as one.


                                                 3
        Case 1:25-cv-00333-ALC          Document 17        Filed 01/31/25      Page 4 of 4



      In addition, Defendants intend to shortly move the court, via Order to Show Cause, for a

temporary restraining order and preliminary injunction to enjoin Plaintiff from further use of the

RFC Marks to prevent further harm to Defendants’ business and reputation. Such will further

underscore the need to stay these proceedings pending the resolution of the arbitration.

      Accordingly, staying this matter until the conclusion of the arbitration is appropriate. Based

on the foregoing, we respectfully request that Your Honor schedule a Pre-Motion Conference to

discuss this matter further.

Very truly yours,

/S/
Ravi Ivan Sharma (RS2064)
SHARMALAW – Ravi Ivan Sharma, P.C.
26 Broadway, Suite 1108
New York, NY 10004
(212) 537-5957
ravi@sharmalaw.com

Attorneys for Defendants

cc. Marms@mullenpc.com, wmullen@mullenpc.com




                                                 4
